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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

SHARON WILSON,                                   )
                                                 )
                 PLAINTIFF,                      )
                                                 )       Case No. 14-cv-5111
                 v.                              )
                                                 )       Honorable Andrea R. Wood
PORTFOLIO RECOVERY                               )
ASSOCIATES, LLC, and BLATT,                      )       Magistrate Judge Sidney I. Schenkier
HASENMILLER, LEIBSKER &                          )
MOORE, LLC,                                      )
                                                 )
                 DEFENDANTS.                     )

                                  STIPULATION OF DISMISSAL

         IT IS HEREBY STIPULATED AND AGREED to by Plaintiff and Plaintiff’s attorney
and the Defendants and Defendants’ attorneys, that pursuant to Rule 41(a) (1) (A) (ii) of the
Federal Rules of Civil Procedure, the above-titled action against the Defendants shall be and
hereby is dismissed without prejudice and on the merits, with each side to bear its own fees and
costs.

         However, if this case is not refiled within 45 days of the filing of this stipulation, Plaintiff
respectfully requests that this Honorable Court then dismiss the case with prejudice and on the
merits, with each side to bear its own fees and costs.

Dated: January 6, 2015


By:      /s/ Bryan Paul Thompson

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                                  CERTIFICATE OF SERVICE

        I, Bryan Paul Thompson, an attorney, hereby certify that on January 6, 2015, I

electronically filed the foregoing document using the CM/ECF system, which will send

notification of such filing to all attorneys of record.


 Dated: January 6, 2015                                                  Respectfully submitted,


                                                                 By:    /s/ Bryan Paul Thompson

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